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File No. 52.759

Attorneys for Plaintiffs
DEBORAH D. PETERSON. Personal Representatives
of the Estate of James C. Knipple (Dec.), et al.
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION
DEBORAH D. PETERSON. Personal

Representative of the Estate of James C.
Knipple (Dec.). et al..

CASE NO. 3:08-mc-80030-JSW

MOTION FOR ASSIGNMENT OF RIGHTS
PURSUANT TO C.C.P. § 708.510(a) AND
Plaintiffs, F.R.C.P. 69(a)

vs. [FINANCIAL INSTITUTIONS]

ISLAMIC REPUBLIC OF IRAN. et al., Date: June 20, 2008
Time: 9:00 a.m.
Courtroom: 17, 16" Floor
Judge: Jeffrey S. White

Defendants.

Plaintiffs DEBORAH D. PETERSON, Personal Representative of the Estate of James C.
Knipple (Dec.). et al., hereby move this court for the following relief, for purposes of enforcement
of the judgment in their favor rendered in the above-entitled action dated 9/7/07 in the amount of
$2.656,944,877, as follows:

1. For an order assigning to Plaintiffs. and each of the same. by and through its named
Plaintiff DEBORAH D. PETERSON, Personal Representative of the Estate of James C. Knipple
(Dec.), all deposits, deposit accounts, rights to receive payment of money, contingent rights. future
rights. general intangibles, rights of any refund, rights to direct. transfer or dispose of any account.

deposit account. rights to receive any checks, drafts or money orders, rights to transfer. use or

MOTION FOR ASSIGNMENT OF RIGHTS PURSUANT TO C.C.P. § 708.5 10(a) AND F.R.C.P. 69(a)
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control any account, regardless of the name, (all hereinafter collectively “Accounts”). to and in
favor of THE ISLAMIC REPUBLIC OF IRAN. and all of its agencies and instrumentalities
(hereinafter collectively “Iran”), in which such accounts. and each of the same. are in the
possession. control, dominion, custody, care, or held by the following financial institutions as
listed on Exhibit “E” to the Declaration of David J. Cook.

2. For an order compelling the assignment of all of the accounts. and each of the same, to
DEBORAH D. PETERSON. Personal Representative of the Estate of James C. Knipple (Dec.), as
a representative for and on behalf of the Plaintiffs in the above-entitled action, care of David J.
Cook, Esq.. Cook Collection Attorneys. P.L.C., 165 Fell Street, San Francisco. CA 94102. and/or
P.O. Box 270. San Francisco. CA 94104. for purpose of satisfaction of the outstanding judgment
rendered in the United States District Court, District of Columbia, entitled Peterson vs. Islamic
Republic of Iran, Consolidated Case Nos. 01-2094 (RCL) and 01-2684 (RCL, and that the
assignment order remains in full force and effect, until the judgment is paid in full herein.

This motion is based upon this Motion, the attached Notice. Memorandum of Points and
Authorities. Declaration of David J. Cook, Esq.. upon all pleadings, papers and other matters on
file herein, all matters which this court may take judicial notice hereof, which include but are not
limited to, all papers, pleadings and other matters on file herein in that certain action known as
DEBORAH D. PETERSON, Personal Representatives of the Estate of James C. Knipple (Dec.), et
al., vs. ISLAMIC REPUBLIC OF IRAN, et al.. United States District Court for the District of
Columbia. Consolidated Civil Actions: 01-2094 (RCL) and 01-2684 (RCL), all other matters
which the court may take judicial notice thereof, and upon all oral evidence and argument which
may be presented at the hearing hereof.

DATED: May 1, 2008 COOK COLLECTION ATTORNEYS
By: ___/s/ David J. Cook
DAVID J. COOK, ESQ. (SB# 060859)
Attomeys for Plaintiffs
DEBORAH D. PETERSON, Personal

Representatives of the Estate of James C. Knipple
(Dec.), etal.

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MOTION FOR ASSIGNMENT OF RIGHTS PURSUANT TO C.C.P. § 708.5 10(a) AND F.R.C.P. 69(a)
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